         Case 8:23-ap-01034-SC                 Doc 9 Filed 07/14/23 Entered 07/14/23 17:49:23                        Desc
                                             Ntc-DefaultEntByClerk Page 1 of 2
                                            United States Bankruptcy Court
                                             Central District of California
                                   411 West Fourth Street, Suite 2030, Santa Ana, CA 92701−4593
In re:                                                                    BANKRUPTCY CASE NO.:    8:23−bk−10094−SC
David Allen Wilson
                                                                          CHAPTER NO.:   7
                                                           Debtor(s).

Lisa A. McKnew                                                            ADVERSARY NO.:     8:23−ap−01034−SC

(See Attachment A for names of additional plaintiffs)
                                                           Plaintiff(s)
                              Versus

David Allen Wilson


                                                        Defendant(s)


         NOTICE THAT CLERK HAS ENTERED DEFAULT AGAINST DEFENDANT(S)
                    UNDER LOCAL BANKRUPTCY RULE 7055−1(a)

On July 14, 2023, a request was filed for the clerk to enter default against defendant(s) David Allen Wilson.

 Having reviewed the request, the clerk hereby enters default as requested.




                                                                                   For the Court,

                                                                                   KATHLEEN J. CAMPBELL, CLERK OF COURT
Dated: July 14, 2023
                                                                                   By: Nickie Bolte
                                                                                    Deputy Clerk




(Form van192−nched VAN−192) Rev. 12/2014                                                                              9 − 8 / NB8
       Case 8:23-ap-01034-SC                 Doc 9 Filed 07/14/23 Entered 07/14/23 17:49:23   Desc
                                           Ntc-DefaultEntByClerk Page 2 of 2



                                                  ATTACHMENT A
                                           Names of plaintiffs and defendants



Plaintiff(s):                                               Defendant(s):
Lisa A. McKnew                                             David Allen Wilson
Thomas I. McKnew, IV
Thomas I. McKnew, IV and Lisa A. McKnew as Trustees of the
McKnew Family Trust Dated May 21, 2004




(Form van192−nched VAN−192) Rev. 12/2014

                                                   ATTACHMENT A
